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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0982V
                                      Filed: April 18, 2017
                                         UNPUBLISHED

****************************
SARA FALEY,                              *
                                         *
                     Petitioner,         *     Damages Decision Based on Proffer;
v.                                       *     Influenza (“Flu”) Vaccine; Shoulder
                                         *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                      *     (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                      *     (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Leah V. Durant, Law Offices, Washington, DC, for petitioner.
Ilene C. Albala, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

         On August 10, 2016, Sara Faley (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered injuries, including a
shoulder injury related to vaccine administration (“SIRVA”) as a result of an influenza
(“flu”) vaccine she received on October 30, 2015. Petition at 1. The case was assigned
to the Special Processing Unit of the Office of Special Masters.

       On January 5, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On April 17, 2017, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $140,000.00. Proffer
at 1. In the Proffer, respondent represented that petitioner agrees with the proffered


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $140,000.00, in the form of a check payable to
petitioner, Sara Faley. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                      )
    SARA FALEY,                                       )
                                                      )
                 Petitioner,                          )
                                                      )   No. 16-982V
    v.                                                )   Chief Special Master Dorsey
                                                      )   ECF
    SECRETARY OF HEALTH AND HUMAN                     )
    SERVICES,                                         )
                                                      )
                 Respondent.                          )
                                                      )


                        PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         On January 5, 2017, Chief Special Master Dorsey issued a Ruling on Entitlement finding

that petitioner was entitled to vaccine compensation. Based upon the evidence of record,

respondent proffers that petitioner should be awarded $140,000.00, which represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1

Petitioner agrees.

II.      Form of the Award

         Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $140,000.00, in the form of a check payable to petitioner.

Petitioner agrees.

         Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
                                                  1
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                                    Respectfully submitted,

                                    CHAD A. READLER
                                    Acting Assistant Attorney General

                                    C. SALVATORE D’ALESSIO
                                    Acting Director
                                    Torts Branch, Civil Division

                                    CATHARINE E. REEVES
                                    Deputy Director
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                                    LINDA S. RENZI
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                                    Torts Branch, Civil Division

                                    /s/ Ilene Albala
                                    ILENE ALBALA
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Dated: April 17, 2017




                                       2
